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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LIMA ONE CAPITAL SPECIAL
SERVICING, INC.,

      Plaintiff,

v.                                             Case No. 1:18-cv-04070-MLB

E.S. REAL ESTATE CONSORTIUM,
INC., CONSORTIUM TITLE, LLC,
INTEGRITY SETTLEMENT
SERVICES, LLC, ANEAKA ENGLISH,
CASITA SIMPSON, and COLEEN
THOMAS

      Defendants.


                            NOTICE OF DISMISSAL

      COMES NOW, Lima One Capital Special Servicing, Inc. (“Lima One”), and

hereby files this Notice of Dismissal, without prejudice, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i).




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Respectfully submitted, this 13th day of January 2020.

                               /s/ Bret J. Chaness
                               BRET J. CHANESS (GA Bar No. 720572)
                               RUBIN LUBLIN, LLC
                               3145 Avalon Ridge Place, Suite 100
                               Peachtree Corners, GA 30071
                               (678) 281-2730 (Telephone)
                               (404) 921-9016 (Facsimile)
                               bchaness@rubinlublin.com
                               Attorneys for Lima One Capital Special
                               Servicing, Inc.




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                          FONT CERTIFICATION

      The undersigned counsel hereby certifies that the within and foregoing was

prepared using Times New Roman, 14-point font in accordance with LR 5.1(B).

      This 13th day of January 2020.

                                       /s/ Bret J. Chaness
                                       BRET J. CHANESS (GA Bar No. 720572)




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                        CERTIFICATE OF SERVICE

      I hereby certify that I have, this 13th day of January 2020, filed the within

and foregoing by CM/ECF, which will serve notice on all parties.

                                      /s/ Bret J. Chaness
                                      BRET J. CHANESS (GA Bar No. 720572)




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